
McCALEB, Justice.
This is a companion case to that of Banjavich v. Louisiana Licensing Board for Marine Divers, 237 La. 467, 111 So.2d 505, and was consolidated therewith in the trial court and here.
For the reasons assigned in the opinion in that matter, the writ of certiorari issued herein is made peremptory and it is now ordered that the defendants, Louisiana Licensing Board for Marine Divers and its members, Eric W. Spitzkeit, Albert J. Fro-lich, Sam J. Bongiovanni, Norman Knudsen and'Alexander A. Asyak, be restrained and enjoined from interfering with plaintiffs in the conduct of their business as marine divers or from doing any other acts which tend to prevent plaintiffs from freely exercising the right to engage in commercial marine diving or in any of its classifications. The defendants are to pay such costs as are properly chargeable against them under provisions of law.
PONDER, HAWTHORNE and HAM-ITER, JJ., dissent.
